                                Case 5:21-cv-01199-FB-ESC Document 1-2 Filed 12/06/21 Page 1 of 1
 JS44 (Rev 10/20)                                                CIVIL COVER SHEET
 The JS 44 civil cover sheet and the information contained herein neither replace nor supplement tiie filing and service of pleadings or other papers as required by law. except as
 provided by local rules ofcourt. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk ofCourt for the
 purpose of initiating the civil docket sheet.
 1. (a) PLAINTIFFS                                                                                                  DEFENDANTS
            CITADEL SA PLAZA, LLC                                                                                    NORTHFIELD INSURANCE COMPANY

     (b) County of Residence of First Listed Plaintiff                                                               County ofResidence of First Listed Defendant (OWS
                                   (EXCEPTIN U.S. PLAINTIFF CASES)                                                                         (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                     NOTE;      IN LAND CONDEMNATION CASES. USE THE LOCATION OF
                                                                                                                                THE TRACT OF LAND INVOLVED.

     (c) Attorneys(Firm Name, Address, and Telephone Number)                                                         Attorneys(IfKnown)
            William T. Jones, Green Klein & Wood, St. 1900,                                                          Robert F. Scheihing, Brock Guerra Strandmo Dimaline
            Houston, TX 77002(713)654-9222(713)654-2155                                                              Jones, 17339 Redland Rd., S.A. TX 78247(210)979-0100
II« BASIS OF JURISDICTION (Place an "X"in One Box Only)                                               III. CITIZENSHIP OF PRINCIPAL PARTIES(Place an "X"in One Boxfor Plaintiff
                                                                                                                (For Diversity Cases Only)                                        and One Boxfor Defendant)
[ i 1 U.S. Government                   LJj Federal Question                                                                                 PTF        DEF                                               FTP      DEF
           Plaintiff                               (V.S. Government Not a Party)                          Citizen of This State              Q] 1      LB ' Incorporated or Principal Place               Q 4 j |4
                                                                                                                                                                   of Business In This State

1 [2 U.S. Government                   ^4 Diversity                                                       Citizen of Another State                     !□ ^ Incorporated and Principal Place              Q 5     [T] 5
           Defendant                                (Indicate Citizenship ofParlies in Item III)                                                                   of Business In Another State

                                                                                                           Citizen or Subject of a           LB 3      LB ^ Foreign Nation                                LB®     LB®
                                                                                                              Foreign Country

                                                                                                                                                  Click here for: Nature of ^uit Code Description^
            CONTRACT                                                   TORTS                                  FORFEITURE/PENALTY                         BA]>flCRUPTCY                      OTHER STATUTES
     110 Insurance                        PERSONAL INJURY                      PERSONAL INJURY            ~~1625 Drug Related Seizure                 422 Appeal 28 USC 158           3 375 False Claims Act
     120 Marine
     130 Miller Act
                                          310 Airplane
                                          315 Airplane Product
                                                                         r~l 365 Personal Injury -
                                                                                 Product Liability
                                                                                                                  of Property 21 USC 881
                                                                                                          ]^690 Other
                                                                                                                                                  B   423 Withdrawal
                                                                                                                                                          28 USC 157
                                                                                                                                                                                          376 Qui Tarn (31 USC
                                                                                                                                                                                              3729(a))
     140 Negotiable Instrument                Liability                  □ 367 Health Care/                                                                                               400 State Reapponionment
     150 Recovery of Overpayment          320 Assault, Libel &                   Pharmaceutical                                                       PROPERTY RIGHTS                     410 Antitrust
         & Enforcement of Judgment
0151 Medicare Act
     152 Recovery of Debited
                                                 Slander
                                          330 Federal Employers'
                                              Liability
                                                                                 Personal Injury
                                                                                 Product Liability
                                                                         [~~| 368 Asbestos Personal
                                                                                                                                                      820 Copyrights
                                                                                                                                                      830 Patent
                                                                                                                                                                                          430 Banks and Banking
                                                                                                                                                                                          450 Commerce
                                                                                                                                                      835 Patent - Abbreviated            460 Deportation
         Student Loans                   340 Marine                              Injury Product                                                           New Drug Application            470 Racketeer Influenced and
         (Excludes Veterans)             345 Marine Product                      Liability                                                            840 Trademark                            Corrupt Organizations
[~| J 53 Recovery of Overpayment
        of Veteran's Benefits
                                                 Liability
                                         350 Motor Vehicle
                                                                          PERSONAL PROPERTY
                                                                         B370  Other Fraud                              LABOR
                                                                                                          ^710 Fair Labor Standards
                                                                                                                                                  a   880 Defend Trade Secrets
                                                                                                                                                         Actof2016
                                                                                                                                                                                      □ 480 Consumer Credit
                                                                                                                                                                                               (IS USC 1681 or 1692)
     160 Stockholders* Suits             355 Motor Vehicle                 371 Truth in Lending                   Act                                                                 □ 485 Telephone Consumer
     190 Other Contract                      Product Liability           I I 380 Other Personal           □ 720 Labor/Management                      SOCIAL SECURITY                          Protection Act
     195 Contraa Product Liability       360 Other Personal                      Property Damage                  Relations                           861 HIA (13950)                 □ 490Cab]c/SatTV
     196 Franchise                           Injury                      [~1 385 Property Damage                  Railway Labor Act                   862 Black Lung (923)            " l 850 Securities/Commodities/
                                         362 Personal Injury •
                                             Medical Malpractice
                                                                                 Product Liability        B       Family and Medical
                                                                                                                  Leave Act
                                                                                                                                                      863 DIWC/DIWW (405(g))
                                                                                                                                                      864 SSID TiUc XVI
                                                                                                                                                                                              Exchange
                                                                                                                                                                                          890 Other Statutory Actions
        REAL PROPERTY                      CIVIL RIGHTS                   PRISONER PETITIONS                      Other Labor Litigation              865 RSI (405(g))                    891 Agricultural Acts
   210 Land Condemnation
   220 Foreclosure
                                         440 Other Civil Rights
                                         441 Voting
                                                                            Habeas Corpus:
                                                                         a 463 Alien Detainee             B       Employee Retirement
                                                                                                                  Income Scctmty Act                  FEDERAL TAX SUITS
                                                                                                                                                                                          893 Environmental Matters
                                                                                                                                                                                          895 Freedom of Information
   230 Rent Lease & Ejectment            442 Employment                     510 Motions to Vacate                                                 □ 870 Taxes (U.S. PlainlifT
   240 Tons to Land
   245 Ton Pnxhict Liability
                                         443 Housing/
                                             Accommodations
                                                                                 Sentence
                                                                         □ 530 Genera]
                                                                                                                                                          or Defendant)
                                                                                                                                                  □ 871 IRS—Third Party
                                                                                                                                                                                      3 896 Arbitration
                                                                                                                                                                                               Act


                                                                                                                                                                                          899 Administrative Procedure
   290 All Other Real Property           445 Amer. w/Disabilitics -      □ 535 Death Penalty                                                              26 USC 7609                        Act/Review or Appeal of
                                             Employment                     Other:                            462 Naturalization Application                                                 Agency Decision
                                         446 Amer. w/Disabilitics
                                             Other
                                                                            540 Mandamus & Other
                                                                            550 Civil Rights
                                                                                                          B   465 Other linmignition
                                                                                                                  Actions
                                                                                                                                                                                      □ 950 ConstitutionBlity of
                                                                                                                                                                                               Stale Statutes
                                         448 Education                      555 Prison Condition
                                                                            560 Civil Detainee -
                                                                                 Conditions of
                                                                                 Confinement

V.                     (Place an "X" in One Box Only)
[~] 1 Original                    Rctnovedfrom               □          Remanded from                I—[ 4 Reinstated or I I 5 Transferred from               I—I 6 Multidistrict               p|8 Multidistrict
        Proceeding                S tate Ojurt                          Appellate Court                   Reopened                    Another District                 Litigation •                    Litigation -
                                                                                                                                      (specify)                        Transfer                        Direct File
                                           Cite the U.S. Civil Statute under which you are filing (Do not ate jurisdiaionai statutes unless diversity):
                                           28 U.S.C. §1332(a)
VI. CAUSE OF ACTION
                                           Brief description of cause;
                                           Insurance coverage involving damage to building

VII. REQUESTED IN                          □ CHECK IF THIS IS A CLASS ACTION                                  DEMAND S                                     CHECK YES only if demanded in complaint:
         COMPLAINT:                               UNDER RULE 23, F.R.Cv.P.                                    $1,000,000                                   JURY DEMAND:         BVes BNo
VIII. RELATED CASE(S)
                                                 (See instructions):
          IF ANY                                                         JUDGE                                                                        DOCKET NUMBER

 DA^                                                                      . SIGNATURE C«ATrOR;4EY OF RECORD

                                                                         mxMX
FOR OmCE USE ONLY

   RECEIPT#                        AMOUNT                                        APPLYING IFP                                        RJDGE                               MAG. JUDGE
